                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

DR. CHRYSANTHE PARKER,                      §   No. 5:21-CV-175-DAE
                                            §
      Plaintiff,                            §
                                            §
vs.                                         §
                                            §
SPOTIFY USA, INC., HIGH FIVE                §
CONTENT, LLC, TRADECRAFT                    §
ALTERNATIVE, LLC, JASON                     §
CAVANAGH,                                   §
                                            §
      Defendants.                           §
                                            §

                            ORDER DISMISSING CASE
             The matter before the Court is the status of this case. On November 1,

2021, the Court granted Plaintiff leave to amend the complaint within thirty days

of that order. (Dkt. # 25.) The Court stated that if Plaintiff failed to file an

amended complaint by that date, the Court will dismiss this case. Plaintiff did not

file an amended complaint and the time to do so has now passed.

             In accordance with the Court’s previous Order (Dkt. # 25), the Court

hereby DISMISSES the case WITHOUT PREJUDICE. The Clerk’s Office is

INSTRUCTED TO ENTER JUDGMENT and CLOSE THE CASE.

             IT IS SO ORDERED.

             DATED: San Antonio, Texas, August 23, 2022.


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    David Alan Ezra
    Senior United States District Judge




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